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      In The United States Court of Federal Claims
                                         No. 7-359C

                                   (Filed: October 7, 2011)
                                         __________


 SERAPHIM TRANSPORT CO.,

                      Plaintiff,

        v.

 THE UNITED STATES,

                      Defendant.
                                        __________

                                         ORDER
                                        __________

        On August 26, 2011, fact discovery was closed in this case. On September 7, 2011,
plaintiff filed a motion to compel discovery. That motion is untimely and is hereby DENIED.

       IT IS SO ORDERED.




                                                  s/ Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
